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        Exhibit Corporate Resolution Authorizing Chapter 7 Filing Page 1 of 2



                    RESOLUTION OF VISION SOLAR, LLC
           AUTHORIZING THE FILING OF A PETITION IN BANKRUPTCY


        Following a special meeting of the Members of Vision Solar, a Limited Liability Company
formed under the laws of the Commonwealth of Pennsylvania, having been duly called or a waiver
of such requisite notice having been presented and the meeting being duly convened at the current
offices of the Company located at 511 Blackhorse Pike (Route 168) in Blackwood, New Jersey
on December 28, 2023 beginning at 9:00 a.m., all eligible Members present and constituting a
quorum for the transaction of business the Company adopted the foregoing resolution:

        WHEREAS, Vision Solar, LLC is a limited liability company duly organized and which
regularly maintained its principal business and financial records, and principal corporate offices in
the New Jersey located at 511 Blackhorse Pike, Blackwood New Jersey, and has maintained its
principal place of business and corporate headquarters at this location for more than the last 180
days;

       WHEREAS, Vision Solar, LLC presently has two members who are present and able to
evaluate the necessary actions of the Company;

       WHEREAS, the Members deem it necessary, advisable, and required, due to the
Company’s inability to pay its debts as they mature, and the inability to feasibly address litigation
pending in a variety of jurisdictions across the United States, to proceed to seek relief under
Chapter 7 of Title 11 of the United States Code;

        NOW THEREFORE BE IT RESOLVED, that it is in the best interest of the Limited
Liability Company, its Members, Employees, and Officers and other individuals interested in the
Company to obtain Federal Bankruptcy protection under Title 11 of the United States Code; and
it is

        FURTHER RESOLVED that each and every designated Managing Member, or executive
employee authorized to act under the Company’s Operating Agreement, be and hereby is
authorized and directed, on behalf of the Company, to execute and file a Petition for Relief under
Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the District of New
Jersey as such time as any officer of the Corporation shall determine; and it is

        FURTHER RESOLVED that consistent with the Company Operating Agreement dated
October 21, 2020, both Jonathan D. Seibert and or Michael Eden, as the designated managing
members, shall be and hereby are authorized to execute and file all Petitions, Schedules, Statement
of Financial Affairs, and any other writings or Motions and to take any and all action as he shall
deem necessary and proper in connection with the proceedings under Chapter 7, and that in
connection therewith is authorized to retain and employ the Law Firm of Offit Kurman, P.A. as
legal counsel for the Debtor, and in conjunction with the Bankruptcy to retain and employ the
assistance of any other professionals which he deems necessary or proper in connection with such
proceedings; and it is further



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       RESOLVED that the execution by Jonathan D. Seibert, or any other duly elected or
appointed authorized individual of the Company of the Petition, Schedules, Statement of Financial
Affairs and all such other necessary documents which are required and shall be filed with the
Bankruptcy Court shall be conclusive evidence of the approval of the Company of its official and
proper actions.

                                            VISION SOLAR, LLC



                                            BY: __________________________________
                                                Jonathan D. Seibert, Managing Member

Dated: December 28, 2023




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